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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No. 4:89cr4006-WS
                                                        Case No. 4:05cv186-WS/WCS

TYRONE SMITH,

     Defendant.
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                    ORDER GRANTING MOTION TO SUPPLEMENT

        Defendant filed a "Motion to Void Illegal Part of Sentence" and a motion to

supplement. Docs. 754-755. It is separately recommended that the motion, as

supplemented, be denied.

        It is therefore ORDERED that the motion to supplement, doc. 755, be

GRANTED.

        DONE AND ORDERED on July 7, 2005.




                                          S/   William C. Sherrill, Jr.
                                          WILLIAM C. SHERRILL, JR.
                                          UNITED STATES MAGISTRATE JUDGE
